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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


     NAVY SEAL 1, et al.,

           Plaintiffs,

     v.                                               CASE NO. 8:21-cv-2429-SDM-TGW

     LLOYD AUSTIN, et al.,

           Defendants.
     ___________________________________/


                                             ORDER

           The defendants move (Doc. 118) on an emergency basis (1) for a stay pending

     appeal from a February 18, 2022 preliminary injunction (Doc. 111) and (2) for an

     “immediate administrative stay” pending resolution of the motion (Doc. 118) to stay.

     The preliminary injunction order enjoins the defendants:

                  (1) from enforcing against Navy Commander and Lieutenant
                  Colonel 2 any order or regulation requiring COVID-19 vaccina-
                  tion and

                  (2) from any adverse or retaliatory action against Navy Com-
                  mander or Lieutenant Colonel 2 as a result of, arising from, or
                  in conjunction with Navy Commander’s or Lieutenant Colonel
                  2’s requesting a religious exemption, appealing the denial of a
                  request for a religious exemption, requesting reconsideration of
                  the denial of a religious exemption, or pursuing this action or
                  any other action for relief under RFRA or the First Amend-
                  ment.

     (Doc. 111 at 47–48)

           The defendants contend that, among other things, the preliminary injunction

     “allows two officers who have refused a lawful order to continue to serve in
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     assignments over the Navy’s objection.” (Doc. 118 at 15) The defendants report

     that “the Navy has lost confidence in [Navy Commander’s] ability to lead” because

     Navy Commander “disobeyed an order that he is also expected to enforce” and be-

     cause Navy Commander “further compromised his trustworthiness” by allegedly

     “misleading his commander regarding taking leave out of the area,” by allegedly

     making misleading statements about communications with his Executive Officer,”

     and by allegedly “expos[ing] dozens of his crew to COVID-19 when he decided not

     to test himself after experiencing symptoms.” (Doc. 118 at 15–16)

               In other words, the defendants contend that the sudden eagerness to remove

     Navy Commander from command of a destroyer results from “other neutral fac-

     tors,” U.S. Navy Seals 1–26 v. Biden, No. 22-10077, 2022 WL 594375 at *12 (5th Cir.

     Feb. 28, 2022), and not from a retaliatory animus toward Navy Commander’s legally

     protected pursuit of the relief that Congress through RFRA secures in federal court

     for every service member. Presented at the preliminary injunction hearing with dec-

     larations endeavoring to establish Navy Commander’s untrustworthiness (and conse-

     quently his unsuitability for command), the preliminary injunction order (Doc. 111)

     states:

                     Because I heard the testimony of Navy Commander and care-
                     fully observed his demeanor and listened attentively to the con-
                     tent of his testimony, I fully credit his testimony, even the parts
                     inconsistent with the un-cross-examined, last-minute affidavits.
                     A determination of the credibility of the statements in the [de-
                     fendants’] affidavits must await live testimony and further ex-
                     ploration (these two witnesses are at the disposal of, and under
                     the command of, the defendants, who neither offered their live
                     testimony nor notified the plaintiffs of the fact of, or the content
                     of, their affidavits). Cross-examination is necessary in this

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                    circumstance to permit assessment of, among other things, the
                    extent to which “command influence” might have affected the
                    presence or content of the affidavits.

     (Doc. 111 at 12 n.3) Accordingly, the defendants’ proffered basis to stay the injunc-

     tion to permit the re-assignment of Navy Commander and Lieutenant Colonel 2 (de-

     spite the likely unlawful denial of their religious exemptions) warrants a prompt evi-

     dentiary hearing. 1

                                 A Necessary Preface About RFRA

            In Article I, Section 8, the Constitution empowers (but does not compel) the

     Congress to “raise and support” the armed forces of the United States and “to make

     rules for the government and regulation of the . . . forces.” These constitutional

     clauses were informed preeminently by the unfortunate English experience, fresh in

     the minds of the Constitution’s authors, with James II and his royal army, which was

     raised without the consent of Parliament, which led to the Glorious Revolution of

     1688, and which ended with the Bill of Rights of 1689, which stated that “raising or

     keeping a standing army within the kingdom in time of peace, unless it be with the

     consent of Parliament, is against the law.”

            Fortunately, Congress raised and has maintained the armed forces (at some

     times more generously than at others) throughout the ensuing years, and these forces

     have preserved and defended the Constitution of the United States by defeating



            1
               The defendants contend that Lieutenant Colonel 2, among other things, allegedly cannot
     reliably enforce the vaccination order against subordinates, convene administrative separation pro-
     ceedings for service members refusing COVID-19 vaccination, or deploy worldwide in foreign coun-
     tries requiring that foreign service members accept COVID-19 vaccination. (Doc. 118 at 17)
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     aggression and tyranny whenever and wherever necessary; under whatever circum-

     stance, no matter how brutal and merciless; and at whatever cost proved necessary

     (for one historic example, read the riveting and unforgettable With the Old Breed by E.

     B. Sledge).

           A signal feature of the Constitution that the armed forces have vigilantly pre-

     served and defended is the Free Exercise Clause of the First Amendment. One of the

     “rules for the government and regulation of the . . . forces” that the Congress has en-

     acted and that the President (who is, of course, also the Commander-in-Chief of the

     armed forces) has signed into law is the Religious Freedom Restoration Act of 1993,

     Public Law 103-141, which creates for the free exercise of religion a renewed protec-

     tion against impingement by the government, including the armed forces. RFRA

     was a bi-partisan enactment (although in 1993 the President, the Speaker of the

     House, and the Majority Leader in the Senate were Democrats). Specifically, two

     months after then-Representative Chuck Schumer (and more than one-hundred other

     representatives, both Republicans and Democrats) introduced RFRA, H.R. 1308,

     103d Cong. (1993), the House of Representatives passed the bill by a two-thirds voice

     vote. 139 Cong. Rec. 9,687 (1993). The Senate amended the bill and passed the

     amended version by a vote of 97 yeas to 3 nays. 139 Cong. Rec. 26,416. After unan-

     imously consenting to the Senate’s amendment, 139 Cong. Rec. 27,241, the House

     presented RFRA to President Clinton on November 5, 1993. 139 Cong. Rec. 32,215.

     President Clinton promptly signed RFRA.



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            The statutorily stated purpose of RFRA is “to restore the compelling interest

     test . . . in all cases where free exercise of religion is substantially burdened and to

     provide a claim or defense to persons whose religious exercise is substantially bur-

     dened by government.” To enable those, including service members, whose free ex-

     ercise rights are improperly restricted to pursue RFRA’s statutory remedy, RFRA

     amends 42 U.S.C. § 1988, the Civil Rights Attorney’s Fees Awards Act of 1976, Pub-

     lic Law 94–559, to allow in a RFRA action an award to the prevailing party, other

     than the United States, of a reasonable attorney’s fee and costs, including expert wit-

     ness fees.

            RFRA includes specific and unequivocal commands to the government, de-

     fined to include every “branch, department, agency, instrumentality, and official (or

     other person acting under color of law) of the United States.” Obviously, RFRA in-

     cludes everyone from the President to a park ranger, from the Chief Justice of the

     United States to a probation officer, from the Speaker of the House to a member’s

     district office staffer, from the Chairman of the Joint Chiefs of Staff to a military re-

     cruiter — even if they don’t like it and even if they don’t agree with it. The Free Ex-

     ercise Clause and RFRA are the law of the land.

            Among RFRA’s express and explicit findings are that the government “should

     not substantially burden religious exercise without a compelling justification” and

     that the “compelling interest test” that RFRA restores is a “workable test” that de-

     mands “striking a sensible balance between religious liberty and competing prior gov-

     ernmental interests.” With the notions of a “workable test” and a “sensible balance”

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     featured conspicuously, the statute proscribes any substantial burden on Free Exer-

     cise unless the government “demonstrates” (a statutorily defined term) that the sub-

     stantial burden (1) “is in furtherance of a compelling governmental interest” and

     (2) “is the least restrictive means of furthering that compelling governmental inter-

     est.” Explaining that the government must meet a “burden of proof,” RFRA defines

     “demonstrates” as “meets the burdens of going forward with the evidence and of per-

     suasion.” That burden is the same for preliminary or permanent injunctive relief.

           The unanimous decision in Gonzalez v. O Centro Espirita Beneficente Uniao Do

     Vegetal, 126 S. Ct. 1211 (2006), authored by the Chief Justice, exemplifies the proper

     method for applying RFRA. In O Centro, a Christian “religious sect” used a “sacra-

     mental tea,” hoasca, containing dimethyltryptamine, a Schedule 1 controlled sub-

     stance under the Controlled Substances Act, 21 U.S.C. §§ 801–971, which imposes

     on the hallucinogen in hoasca “an outright ban on all importation and use, except

     pursuant to strictly regulated research projects.” The religious sect sued in the dis-

     trict court under RFRA for preliminary and permanent injunctive relief against both

     the government’s seizure of shipments of hoasca and the government’s threatened

     prosecution for continued use of hoasca. In sum, a statute containing a prohibition

     against the acquisition and use of a dangerous controlled substance and providing for

     the necessary enforcement mechanism, including prosecution — a statute fundamen-

     tal to the well-being and security of the United States — conflicted directly with the

     sacramental observations, using hoasca, of the sectarian plaintiffs, who relied on

     RFRA to resolve the conflict.

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             After finding the evidence introduced at the preliminary injunction hearing to

     stand “in equipoise,” the district court determined that the government failed to sat-

     isfy RFRA’s statutory burden of “demonstrating” that seizure and prosecution were

     the “least restrictive means” to preserve the compelling governmental interests ex-

     pressed in the Controlled Substances Act and issued a preliminary injunction against

     the government. The Tenth Circuit affirmed, and the Supreme Court granted certio-

     rari.

             After confirming that the lower courts properly assigned the burden of proof to

     the government in accord with RFRA, the Chief Justice explained a fundamental

     flaw in the government’s approach:

                   RFRA, and the strict scrutiny test it adopted, contemplate an
                   inquiry more focused than the Government’s categorical ap-
                   proach. RFRA requires the Government to demonstrate that
                   the compelling interest test is satisfied through application of
                   the challenged law “to the person” — the particular claimant
                   whose sincere exercise of religion is being substantially bur-
                   dened.

     126 S. Ct. at 1220. Similarly, responding to the government’s argument that granting

     an exception to the Controlled Substances Act was not within the proper domain of

     the judiciary, the Chief Justice responded authoritatively:

                   RFRA, however, plainly contemplates that courts would recog-
                   nize exceptions — that is how the law works. See 42 U.S.C. §
                   2000bb–1(c) (“A person whose religious exercise has been bur-
                   dened in violation of this section may assert that violation as a
                   claim or defense in a judicial proceeding and obtain appropriate
                   relief against a government.”). . . . RFRA makes clear that it is
                   the obligation of the courts to consider whether exceptions are
                   required under the test set forth by Congress.




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     126 S. Ct. at 1222. (Supreme Court’s emphasis). The message from O Centro and

     later decisions is unmistakable.

            Despite the unmistakable message of the Free Exercise Clause, RFRA, and

     O Centro, the defendants argue as if none of the three exists (or, at least, as if none of

     the three affects the command discretion of the armed forces). The defendants begin

     their present motion by declaring, “The Supreme Court has made clear: ‘Judges are

     not given the task of running the Army,’” a quote from Orloff v. Willoughby, 345 U.S.

     83, 93 (1953), a dispute resolved forty years before enactment of RFRA. Although

     certainly not “given the task of running the Army,” the courts in the narrow instance

     of RFRA are given the task of ensuring that those who are given the task of running

     the Army (and the armed forces in general and every other component of the federal

     government) conform their actions to the governing law, to RFRA, to which the ad-

     mirals and the generals and commandants are unquestionably subordinate — just

     like the President, the Speaker of the House, the Chief Justice, and every other per-

     son in the federal government. This order and this action will proceed accordingly.

                                            Discussion

            The defendants move (Doc. 118) for a stay pending appeal and for an “imme-

     diate administrative stay.” The defendants announce menacingly in the opening sen-

     tences of the motion, filed at 6:27 p.m. EST on February 28, 2022, that “by the end

     of the day March 2, 2022 . . . if relief has not been granted, Defendants will seek re-

     lief from the U.S. Court of Appeals for the Eleventh Circuit.” The opening sentences

     of the motion, along with much of the remainder of the motion, attempt to evoke the

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     frightening prospect of a dire national emergency resulting from allegedly reckless

     and unlawful overreaching by the district judge, an exigency sufficient to warrant de-

     priving the plaintiffs of a fair opportunity to respond to the motion, depriving the dis-

     trict court of a fair opportunity to consider and resolve the motion, and finally and

     effectively depriving the two immediately affected service-member plaintiffs of a right

     explicitly secured by RFRA.

           A review of the defendants’ motion reveals that the defendants persistently

     and resolutely cling to the belief that their accustomed and unfettered command dis-

     cretion need not yield — on the narrow and specific question of the free exercise of

     religion — to the statutory command of RFRA or to an order under RFRA from a

     district court (actually, at this moment, orders from several district courts and a cir-

     cuit court of appeals), the forum selected by Congress and enacted in RFRA to re-

     solve a dispute under RFRA (in other words, Congress and the President, not the dis-

     trict court, chose the district court as the proper forum for service members to assert

     the RFRA claim asserted in this action).

           In the motion, filed in response to the preliminary injunction granted to one

     Navy officer and one Marine officer, the defendants first feature a series of alarums,

     including the specter of “a direct and imminent threat to the national security” and

     “an indefinitely sideline[d]” Navy warship,” which putatively create a circumstance

     of “utmost urgency,” the severity of which compels the defendants to demand an im-

     mediate ruling from the district court, failing which the defendants promise an emer-

     gency motion in the court of appeals. In contrast, this order prescribes an accelerated

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      but reasonable time for the plaintiffs to respond and schedules a hearing at which the

      parties can offer evidence, including live testimony, and both legal and factual argu-

      ment on the merits of the defendants’ motion. Also, because the defendants, if dis-

      satisfied with the stated schedule, promise to move in the court of appeals, this order

      responds in general terms (all that time permits) to the defendants’ characterization

      of the preliminary relief granted to Navy Commander and Lieutenant Colonel 2.

            The first heading of the defendants’ motion suggests that the preliminary in-

      junction “exceeds the court’s authority”; mentions that the executive branch and the

      legislative branch, not the court, properly direct “the composition, training, equip-

      ping, and control” of the armed forces; insists that “who is placed in command” is

      “beyond the judiciary’s competence”; and recalls that “challenges to military assign-

      ment decisions” are “routinely” found non-justiciable. Although those claims are

      largely correct, none takes cognizance of RFRA; none mentions the narrow and spe-

      cific instruction in RFRA to the district court to provide an “appropriate remedy” for

      violation of RFRA by any component of the federal government, including the mili-

      tary. The defendants argue as if RFRA does not exist or has no application to the

      military or is a matter subject to the command discretion of the military. Stated

      plainly: Yes, the Congress and the President, not the courts, govern the military. But

      the Congress and the President in governing the military and by enacting RFRA

      have established — for the narrow category of free exercise of religion — an action

      and a remedy in the district court, have specified and placed the burden of proof on

      the military, and have allowed for an “appropriate remedy” to ensure a service

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      member’s right to free exercise. That is not a fairly contestable proposition, and the

      military must acquiesce to the command of the Congress and the President in that re-

      spect.

               Further the preliminary injunction includes no instructions to the military

      about composing, training, equipping, or otherwise controlling the military or about

      assigning, promoting, or demoting anyone. On the contrary and in accord with

      RFRA, the preliminary injunction — as an “appropriate remedy” pending a final or-

      der — merely preserves the status quo, that is, preserves for Navy Commander and

      Lieutenant Colonel 2 the assignments granted by the military, not by the court. The

      preliminary injunction preserves the state of affairs established by the military before

      Navy Commander and Lieutenant Colonel 2 sought under RFRA a religious exemp-

      tion from vaccination. As an interim “appropriate remedy,” the preliminary injunc-

      tion prevents an adverse action by the military against Navy Commander and Lieu-

      tenant Colonel 2 based on their resort to the court in an effort to acquit their statu-

      tory rights under RFRA.

               If the military has a non-retaliatory reason for some adverse action against

      Navy Commander and Lieutenant Colonel 2, the military can move for a modifica-

      tion of the injunction, which is always an option for a party subject to a preliminary,

      or even a permanent, injunction. In this instance, Navy Commander and Lieutenant

      Colonel 2 testified most credibly in person at the hearing. Before the hearing, the

      Navy submitted affidavits that claim the Navy has “lost confidence” in Navy Com-

      mander. This peculiarly subjective determination of “lost confidence,” arriving

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      suddenly after seventeen stellar years of service by Navy Commander and after, to

      say the least, tense exchanges with his superior officer about vaccination and about

      his RFRA claim does not warrant immediate deference but, rather, demands a closer

      examination, which is readily and reasonably promptly available. Surely the free ex-

      ercise rights restored by RFRA are not subject to evisceration or circumnavigation by

      a notion as subjective and illusory — and, according to the defendants, unreviewable

      by the judiciary — as a sudden “loss of confidence” by a superior officer who sends a

      declaration to the court. The same reasoning applies to Lieutenant Colonel 2 and

      any non-retaliatory basis the military might have with respect to her assignments.

            The defendants conclude the first heading with the startling accusation that

      the preliminary injunction “is broad enough to prevent the military from imposing

      discipline or convening a court martial with respect to either plaintiff, even for poten-

      tial violations of the Uniform Code of Military Justice.” This novel formulation is

      wholly unwarranted, except that admittedly the preliminary injunction likely prohib-

      its, because RFRA prohibits, the military’s disciplining or court martialing either

      plaintiff in retaliation for their requesting a religious exemption under RFRA.

            This odd inclusion in the defendants’ argument of the prospect of a court mar-

      tial for the plaintiffs perhaps originates in the defendants’ frequently repeated idea

      that the plaintiffs are subject to discipline and separation because they have “diso-

      beyed a lawful order” to accept vaccination. Admittedly, the order to accept vac-

      cination is lawful. But, owing to RFRA, the order to accept vaccination is a lawful

      order with respect to which the plaintiffs, based on the present record, are likely

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      entitled to an exemption. In other words, what we have here is a failure to com-

      municate. The military sees the plaintiffs’ request for a lawful exemption from a law-

      ful order as a refusal to obey a lawful order and as a basis for discipline. But, alt-

      hough the matter remains momentarily unresolved, the plaintiffs might enjoy —

      likely enjoy — a lawful exemption from compliance with a lawful order. Thus far,

      the defendants seem to comprehend, or at least to acknowledge, only half — the

      “lawful order” half — of the governing legal reality and seem studiously and pur-

      posefully to ignore the other half, the religious exemption half, ensured by RFRA.

            The second portion of the defendants’ motion advances the “judicial overstep-

      ping” claim. In particular, the second portion claims that two footnotes in the pre-

      liminary injunction (Doc. 111 at 37, n.10 and at 43, n. 11) somehow “discount[] the

      effect of refusers on good order and discipline in the military” and “by second-guess-

      ing the scientific and military evidence that vaccination is the most effective means to

      protect the health and safety of the force.” (The term “refusers” is a tellingly offen-

      sive term that the defendants must employ no further in this court. A RFRA claim-

      ant is not a “refuser,” not an outcast subject to shunning.)

            First, the footnote on page 37 of the preliminary injunction order notes —

      with a lengthy quote from, and citation to, a January 28, 2022 CDC publication —

      that the matter of natural immunity and vaccination in several combinations “remain

      under careful study and constant evolution,” which is not surprising, is not news,

      and is not an adjudication or a “second guessing” of any kind. The footnote on page

      43 of the order notes then-current Department of Defense data that shows a

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      remarkable surge in COVID-19 (Omicron) cases in the military immediately after the

      vaccination deadline and despite about a 97% vaccination rate among service mem-

      bers. The footnote draws no conclusion from the Department of Defense’s data, ad-

      judicates nothing, and second-guesses nothing.

             Second, no dispute exists in the action (not even the plaintiffs suggest other-

      wise) that the military must combat COVID-19 (and other diseases) and that vac-

      cination helps maximize the health and safety of the force. Of course it does. And

      in excess of 99% of the armed forces is fully vaccinated today. Neither this action

      nor the plaintiffs’ claims nor the preliminary injunction raises any question about

      that. The defendants might prefer to argue that question, but the plaintiffs and the

      court address only the question presented in this RFRA claim. The plaintiffs con-

      cede that the military has a compelling governmental interest in the “health and

      safety of the force” and consequently in vaccinating the force. The question pre-

      sented in this action and presented by the explicit language of RFRA is whether vac-

      cinating Navy Commander or Lieutenant Colonel 2 over their religious objection,

      that is, athwart the right of each to the free exercise of religion, is “the least restrictive

      means of furthering that compelling governmental interest.” RFRA establishes that

      explicit test and places the burden of proof on the government.

             Proving the obvious, that vaccination is best for “the force” and necessary for

      “the force,” fails to satisfy the “to the person” test required by RFRA. The military

      designs to avoid the “to the person” test, but the statute is unflinching.



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            Earlier orders discuss — without any limitations and for suggestive, not direc-

      tional, purposes — what sort of evidence might gravitate favorably for the defend-

      ants. For example, reason suggests that the defendants might show why the Navy

      cannot — in the facts of his actual performance — accommodate Navy Com-

      mander’s service on his surface missile destroyer now, when 99% of the force is vac-

      cinated and the relatively weak and transient Omicron variant is dominant, even

      though Navy Commander served in the same command on the same destroyer, in-

      cluding on a 300-day mission with his 320-member crew, entirely without vaccina-

      tion during the many months of the height of the pandemic and without any unman-

      ageable consequence. Navy Commander’s unrebutted testimony about the feasibility

      of that accommodation was compelling (history is difficult to rebut). Perhaps the de-

      fendants have a good response — directed “to the person” of Navy Commander —

      but, because they fail to acknowledge the correct issue (or, at least, the correct focus

      of the issue), the defendants’ presentation was largely unresponsive to the issue gov-

      erning the preliminary injunction.

            Also, as stated in a November 22, 2021 order (Doc. 40), the defendants might

      consider offering evidence probative of:

                   not whether COVID adversely affects the force (or course it
                   does) but whether the readiness and fitness of the force is more
                   adversely affected (1) by granting exemptions and accommoda-
                   tions to a stated number of sincere objectors or (2) by punish-
                   ing, separating, and discharging that same stated number of
                   skilled and experienced personnel, notwithstanding the time,
                   energy, and money expended to train those service members
                   and necessarily spent again to locate, recruit, and train a succes-
                   sor, including the cost of the successors’ acquiring similar


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                   experience and the deficit in fitness and readiness experienced
                   in the interim.

            To illustrate the deeply entrenched failure of the defendants to respond effec-

      tively to the requirements of RFRA, Part A of Section III (Doc. 118 at 10–14) of the

      defendants’ motion offers a graphic exemplar. The defendants claim that the prelim-

      inary injunction “causes irreparable harm because these unvaccinated individuals

      place themselves and their units at higher risk of illness, hospitalization and death,

      and this creates a grater risk of mission failure.” To support this dramatic and broad

      claim, the defendants cite declarations submitted by Lescher, Yun, and Rans. A de-

      finitive review of the probative value of these declarations and others requires a hear-

      ing and an opportunity for cross-examination. And a detailed discussion of these

      declarations is beyond the scope of, and the time available for, this order. But the af-

      fidavits fail, consistent with the balance of the defendants’ presentation, to focus on

      the assignment, duty, and performance of Navy Commander and Lieutenant Colo-

      nel 2. Further, for the most part, the declarations contain generalizations and con-

      clusions about “the force” as a whole or aggregated portions of the whole force. The

      declarations fail, at a minimum, to disaggregate by age, by medical characteristics

      (for example, BMI, diabetes, high blood pressure, etc.), by assignment, and the like.

      The declarations evidence mostly historical data from the 2020 and 2021 pre-Omi-

      cron, pre-vaccine phase of the pandemic. In sum, the declarations, both bulky and

      full of numbers, say little or nothing about, for example, the marginal risk, if any,

      that Navy Commander, who is triumphantly fit and slim and strong, who is robustly


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      healthy, who is young, who has already caught and recovered from COVID-19 with

      only trivial symptoms, who has commanded the same destroyer “underway” on a

      300-day mission with a 320-sailor crew, and who has designed and implemented suc-

      cessfully an anti-COVID protocol customized to the needs of his vessel cannot serve

      — consistent with his sincerely held religious beliefs — without vaccination as a rea-

      sonable accommodation that both preserves the compelling governmental interest

      and reasonably accommodates the free exercise of religion. That is the question, as

      to Navy Commander, the defendants scrupulously avoid. But that is the question

      that RFRA burdens the defendants to answer. They have not.

            As well stated in U.S. Navy Seals 1–26 v. Biden, No. 22-10077, 2022 WL 594375

      at *9–10 (5th Cir. Feb. 28, 2022), in denying a stay in a strikingly similar circum-

      stance:

                   The Navy has been extraordinarily successful in vaccinating
                   service members, as at least 99.4% of whom are vaccinated. But
                   that general interest is nevertheless insufficient under RFRA.
                   The Navy must instead “scrutinize[ ] the asserted harm of
                   granting specific exemptions to particular religious claimants.”
                   O Centro, 546 U.S. at 431, 126 S. Ct. at 1220. “The question,
                   then, is not whether [the Navy has] a compelling interest in en-
                   forcing its [vaccination] policies generally, but whether it has
                   such an interest in denying an exception to [each Plaintiff].”
                   Fulton, 141 S. Ct. at 1881. And RFRA “demands much more[]”
                   than deferring to “officials’ mere say-so that they could not ac-
                   commodate [a plaintiff’s religious accommodation] request.”
                   Holt, 574 U.S. at 369, 135 S. Ct. at 866 (RLUIPA context).
                   That is because “only the gravest abuses, endangering para-
                   mount interests, give occasion for permissible limitation[ ]” on
                   the free exercise of religion. Sherbert v. Verner, 374 U.S. 398,
                   406, 83 S. Ct. 1790, 1795, 10 L.Ed.2d 965 (1963).




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      (Because the defendants in this action assert in the Fifth Circuit action many argu-

      ments and theories rejected by the Fifth Circuit, the quoted opinion is immensely in-

      structive and endorsed entirely.)

            Time will not permit further comment about the defendants’ motion for a stay.

      However, a comment on the progress of the action is required. The complaint

      (Doc. 1) and a motion (Doc. 2) for injunctive relief were filed on October 15, 2021.

      The defendants responded (Doc. 23) to the motion on November 3, 2021. The first

      hearing on the motion occurred on November 15, 2021. A November 22, 2021 order

      (Doc. 40) denied the motion for a temporary restraining order and denied the motion

      for a preliminary injunction as to the civilian plaintiffs, some defendants, and some

      counts but deferred ruling on the preliminary injunction as to the First Amendment

      and RFRA counts pending. Also, the order directed certain reporting by the defend-

      ants and permitted another hearing, which occurred on February 10, 2022, after ad-

      ditional briefing and supplemental material. Navy Commander and Lieutenant

      Colonel 2 were the only witnesses testifying at the hearing.

            The amended complaint (Doc. 75) had arrived on February 7, 2022. Later, an

      order (Doc. 89) severed misjoined parties and opened separate actions (assigned to

      the same district and magistrate judge) in an effort to manage this abundance of par-

      ties and claims more effectively. The order (Doc. 111) granting preliminary relief

      was entered on February 18, 2022.

            In sum, this difficult and unprecedent action, along with similar actions pend-

      ing in this court and elsewhere, presents not only a somewhat novel legal problem

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      (the application of RFRA to the armed forces) but a daunting management problem

      (hundreds or more of disappointed RFRA applicants asserting claims in different dis-

      tricts in different circuits, some including class allegations, as in this action, and

      some not, and some with plaintiffs serving on one branch or two branches of the

      armed forces and this action, with plaintiffs in each branch of the service). To further

      illustrate the management problem, at 1:56 p.m. today, during the hurried composi-

      tion of this order, the plaintiffs filed another motion (Doc. 121) for preliminary relief

      on behalf of another plaintiff who is ordered to receive vaccination and offered only

      two days to either accept vaccination or face discipline. The military, despite several

      adverse orders, continues on the path determined months ago. A more organized

      and encompassing approach must attach soon.

             In finalizing a plan, the district judge must consider the full array of options

      available for conditional and final class certification, along with an array of other for-

      midable issues. Mindful of these and other considerations and mindful both of the

      public interest and the interest of the litigants (not necessarily divergent in many or

      most respects), this action has proceeded expeditiously but carefully (with simultane-

      ous mediation underway before the magistrate judge). Unless ordered otherwise, the

      district judge will continue to proceed apace to resolve the organizational, legal, and

      remedial complexities (assuming some successful claims) in accord with governing

      law.




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                                           Conclusion

            The motion for an “immediate administrative stay” is DENIED. Not later

      than MARCH 8, 2022, (1) the plaintiffs must respond to the motion (Doc. 118) to

      stay and (2) the parties must submit a witness and exhibit list. An evidentiary hear-

      ing on the motion to stay is scheduled for MARCH 10, 2022, at 10:00 A.M. in

      Courtroom 15A, United States Courthouse, 801 N. Florida Avenue, Tampa, Flor-

      ida, 33602.

            ORDERED in Tampa, Florida, on March 2, 2022.




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